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iN THE UNITED sTATEs DISTRICT coURrOSAZ/@ \oc_

EASTERN DIVISION

 

HOWARD RUSSELL SCALES,
Plaintiff,
VS. No. 04-]312-T/An

CHARLES TRAUGHBER, ET AL.,

\_a\_/\._/\_/\_/\_./\_/\,/\-._,/

Defendants.

 

ORDER GRANT[NG MOTION TO WITHDRAW CIVIL RIGHTS LAWSUl'l`

 

Plaintiff Howard Russell Scales filed a pro se complaint pursuant to 42 U.S.C. § 1983 on
November 26, 2004. On June 16, 2005, plaintiff filed a motion to withdraw the lawsuit, stating that
he had obtained his requested relief. The Court construes the motion as a motion for voluntary
dismissal.

The defendants have filed no objection to the plaintiff` s motion for Voluntary dismissal.
'l`herefore, plaintiff’ S motion is GRANTED, and this action is hereby DISMISSED pursuant to Fed.
R. Civ. P. 41(a)(2). The Clerk is directed to prepare a judgmentl

IT IS SO ORDERED.

  

TED STATES DISTRlCT JUDGE

;lBLQ/MW;V/z:s“’

DATE

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Bradley W. Flippen

OFFICE OF ATTORNEY GENERAL
P.O. BOX 20207

NASHVILLE, TN 37202

HoWard Russell Scales
Northwest Correctional Facility
1 09 1 83

960 State Route 212
Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

